 8:09-cr-00036-LES-TDT          Doc # 59       Filed: 11/25/09    Page 1 of 2 - Page ID # 155




                          UNITED STATES DISTRICT COURT FOR

                                THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                            8:09CR36
                                    )
            v.                      )
                                    )
JUAN RAMOS-RAMOS,                   )                        FINAL ORDER OF
                                    )                          FORFEITURE
                        Defendant.  )
____________________________________)


               This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture (Filing No. 58). The Court has reviewed the record in this case and finds as follows:

               1. On August 13, 2009, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 846, 841(a)(1) and 853,

based upon the defendant's plea of guilty to Counts I and IV of the Indictment filed herein. By

way of said Preliminary Order of Forfeiture, the defendant’s interest in $455.00 in United States

currency was forfeited to the United States.

               2. Notice of Criminal Forfeiture was posted on an official Government internet

site (www.forfeiture.gov) for at least thirty consecutive days, beginning on September 21, 2009,

as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime and

Asset Forfeiture Claims. A Declaration of Publication was filed herein on November 24, 2009

(Filing No.57).

               3. The Court has been advised by the United States no Petitions have been filed.

From a review of the Court file, the Court finds no Petitions have been filed.
 8:09-cr-00036-LES-TDT           Doc # 59     Filed: 11/25/09     Page 2 of 2 - Page ID # 156




               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

Accordingly,

               IT IS ORDERED:

               A. Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the $455.00 in United States currency,

held by any person or entity, is hereby forever barred and foreclosed.

               C. The $455.00 in United States currency, be, and the same hereby is, forfeited to

the United States of America .

               D. The United States Marshal for the District of Nebraska is directed to dispose

of said property in accordance with law.

               DATED this 25th day of November, 2009.

                                              BY THE COURT:

                                              /s/ Lyle E. Strom
                                              ______________________________
                                              LYLE E. STROM, Senior Judge
                                              United States District Court
